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 1    Michael John Avenatti (Pro Se)
 2    H. Dean Steward, SBN 85317
      17 Corporate Plaza, Suite 254
 3    Newport Beach, California 92660
      Tel (949) 481-4900
 4    Fax (949) 497-6753
 5    Advisory Counsel for Defendant
      MICHAEL JOHN AVENATTI
 6
 7
                                UNITED STATES DISTRICT COURT
 8
                     FOR THE CENTRAL DISTRICT OF CALIFORNIA
 9
10     UNITED STATES OF AMERICA,                     SA CR No. 19-061-JVS
11                 Plaintiff,                        DEFENDANT’S MOTION FOR AN
12                        v.                         ORDER DIRECTING THE
                                                     GOVERNMENT TO IMMEDIATELY
13     MICHAEL JOHN AVENATTI,                        PRODUCE TO THE DEFENSE ALL
14                 Defendant.                        MATERIALS PROVIDED TO
                                                     GOVERNMENT EXPERT JOHN
15
                                                     DRUM
16
17          Defendant MICHAEL JOHN AVENATTI (“Mr. Avenatti”) by and through his
18    advisory counsel of record, H. Dean Steward, hereby files this Motion for an Order
19    Directing the Government to Immediately Produce to the Defense All Materials
20    Provided to Government Expert John Drum. Defendant’s motion is based on the attached
21    memorandum of points and authorities; the exhibit filed concurrently herewith; the files,
22    records and transcripts in this case; and such further evidence and argument as the Court
23    may permit at a hearing on this matter.
24
25     Dated: August 23, 2021                   Respectfully submitted,
                                                /s/ Michael J. Avenatti
26
27                                              Defendant
                                                MICHAEL JOHN AVENATTI
28
     Case 8:19-cr-00061-JVS Document 772 Filed 08/23/21 Page 2 of 15 Page ID #:17168




 1                   MEMORANDUM OF POINTS AND AUTHORITIES
 2
 3          On August 13, 2021, the government was directed to provide the Court with the
 4    unproduced communications between the prosecution and government expert John
 5    Drum. On August 15, 2021, the government made an in camera filing in connection with
 6    the undisclosed Drum materials, consisting of 389 pages. On August 16, 2021, at 2:21
 7    p.m., AUSA Wyman e-mailed advisory counsel and alerted the defendant, “Per the
 8    Court’s order this afternoon, please see attached our in camera filing from this weekend.
 9    The Court has directed us to file this under seal, which we will be doing shortly, and
10    provide a copy to defendant.”
11          A review of this filing by the defense has uncovered a reference to a data drive
12    that the government provided to its expert in 2019 but never disclosed to the defendant.
13    This reference is included within Exhibit A, on a list prepared by Mr. Drum entitled
14    “DOCUMENTS PROVIDED.”1 In this list, which was first produced to the defense one
15    week ago, but which has been in the possession of the government since June 16, 2021,
16    Mr. Drum itemized the documents and data the government previously provided to him
17    in order for him to perform his financial analysis and reach his conclusions/opinions.
18    Included on this list, under the section “Data and Related Documents,” is a reference to
19    something identified as “Eclipse SE Desktop Data,” which is described as “Drive sent
20    via mail with 10,578 Records (received by AG [presumably Analysis Group] in May
21    2019).” See, e.g., Exhibit A (page 119 at bottom).
22          Despite Mr. Drum being provided with a copy of this Eclipse SE Desktop Data
23    drive in May 2019, over two years before the trial in this case, a copy of what was
24    provided to Mr. Drum does not appear to have ever been provided to the defense. These
25    materials should be ordered to be produced immediately. Under no circumstances
26    should Mr. Drum have been provided materials not produced to the defense. The
27    1
       This statement, together with others, should have been given to the defense prior to Mr.
28    Avenatti beginning his cross-examination of Mr. Drum, but was not.
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 1    defendant reserves all rights associated with this failure, including the right to seek,
 2    pursuant to Brady, Giglio, Jencks, and/or Rule 16, the striking of testimony, sanctions,
 3    dismissal and/or a mistrial once the withheld data is received and reviewed.
 4          For each of these reasons, the defendant respectfully requests that the government
 5    be ordered to immediately produce to the defendant all materials and information
 6    previously provided to Mr. Drum.
 7
 8
       Dated: August 23, 2021                     Respectfully submitted,
 9
10                                               /s/ Michael J. Avenatti
11                                               Defendant
                                                 MICHAEL JOHN AVENATTI
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     Case 8:19-cr-00061-JVS Document 772 Filed 08/23/21 Page 4 of 15 Page ID #:17170




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                                     EXHIBIT A
28
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Case 8:19-cr-00061-JVS Document 772 Filed 08/23/21 Page 6 of 15 Page ID #:17172
Case 8:19-cr-00061-JVS Document 772 Filed 08/23/21 Page 7 of 15 Page ID #:17173
  Case 8:19-cr-00061-JVS Document 772 Filed 08/23/21 Page 8 of 15 Page ID #:17174
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                                            DOCUMENTS PROVIDED

Data and Related Documents
Access Data and Supporting Tables
   COMBINED ALL ACCOUNTS rev12182018 mdb
   COMBINEDallBankAccountsrev5282019.mdb
   GBUS - Bank Accounts - DRAFT JLA.xlsx

Eclipse SE Desktop Data
    Drive sent via mail with 10,578 Records (received by AG in May 2019)

QuickBooks Data
   Eagan O'Malley & Avenatti, LLP QuickBooks files
   Restored Eagan O'Malley & Avenatti, LLP QuickBooks files

Other Documents
FY 2015 GB Workbooks
   2015 Daily Cash Projection.xlsx
   Trending FY15.xlsx

Client Contracts & Agreements
    Thomas Cassaro attachment 3.pdf

Legal Documents
   Ex Parte Application for Approval of Attorney Minders for Defendant From MCC New York to Home of Third-Party
   Custodian in Venice, California; Declaration of Counsel; [Proposed] Order, United States vs. Michael Avenatti, United
   States District Court, Central District Of California, Case No. SA-CR-19-61-JVS, April 23, 2020.
   Motion in Limine to Exclude Expert Testimony; And, Request for Daubert Hearing, United States vs. Michael Avenatti,
   United States District Court, Central District Of California, Case No. SA-CR-19-61-JVS, October 19, 2020.

Bates Stamped Documents
   Ayres - 1-566
   GB_C_00027022
   GB_C_00027026
   GB_C_00027027
   GB_T_00126678
   GB_T_00126679
   GB_T_00126680
   GB_T_00126681
   K 000008-012
   TBC_000530
   TBC_000531
   TBC_001611-614
   TBC_001615-624
   USAO_00020407
   USAO_00020408
   USAO_00020409




                                                     Exhibit 8                                       ANALYSIS GROUP, INC
                                                       119
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                              DOCUMENTS PROVIDED

    USAO_00020410
    USAO_00020411
    USAO_00020412
    USAO_00020413
    USAO_00020414
    USAO_00020554-743
    USAO_00020744
    USAO_00020745
    USAO_00020746
    USAO_00020747
    USAO_00020748
    USAO_00020881-880
    USAO_00042621-714
    USAO_00045243
    USAO_00045244
    USAO_00045245-313
    USAO_00058528-344
    USAO_00058644-657
    USAO_00058739-744
    USAO_00058875-883
    USAO_00059777-779
    USAO_00059780
    USAO_00059781
    USAO_00059782-888
    USAO_00061384-450
    USAO_00061451-455
    USAO_00068250-252
    USAO_00088924
    USAO_00088925-926
    USAO_00088927-935
    USAO_00089036-121
    USAO_00089122-134
    USAO_00089135-187
    USAO_00089188-318
    USAO_00089319-416
    USAO_00089417-456
    USAO_00089457-224
    USAO_00091599-607
    USAO_00091613-616
    USAO_00091662-998
    USAO_00092225-226
    USAO_00092227
    USAO_00092228
    USAO_00092258
    USAO_00092259
    USAO_00120058-113
    USAO_00120059
    USAO_00134100-101
    USAO_00134102
    USAO_00134103
    USAO_00134104-129


                                    Exhibit 8                        ANALYSIS GROUP, INC
                                      120
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                               DOCUMENTS PROVIDED

    USAO_00134130-132
    USAO_00134133-136
    USAO_00134137-148
    USAO_00134149
    USAO_00134150-181
    USAO_00134182-191
    USAO_00134192
    USAO_00134193-208
    USAO_00134284-296
    USAO_00134297
    USAO_00134298-302
    USAO_00134303
    USAO_00134304-308
    USAO_00134309-339
    USAO_00134340-369
    USAO_00134370-406
    USAO_00134407-411
    USAO_00134412-413
    USAO_00134414-415
    USAO_00134416
    USAO_00134417-423
    USAO_00134447-896
    USAO_00136762-763
    USAO_00136764-766
    USAO_00136767
    USAO_00136768
    USAO_00136769
    USAO_00136770
    USAO_00136771
    USAO_00136772
    USAO_00136773
    USAO_00136774
    USAO_00136775
    USAO_00136776
    USAO_00136777
    USAO_00136778
    USAO_00136779
    USAO_00136780
    USAO_00136781
    USAO_00136782
    USAO_00136783
    USAO_00152096-097
    USAO_00152098-122
    USAO_00152123-133
    USAO_00152134-135
    USAO_00152136-167
    USAO_00152168-195
    USAO_00152196-217
    USAO_00152218-240
    USAO_00152241-256
    USAO_00152257-288


                                     Exhibit 8                       ANALYSIS GROUP, INC
                                       121
  Case 8:19-cr-00061-JVS Document 772 Filed 08/23/21 Page 11 of 15 Page ID #:17177
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                               DOCUMENTS PROVIDED

    USAO_00152289-312
    USAO_00152313-353
    USAO_00152354-389
    USAO_00152390-435
    USAO_00152436-480
    USAO_00152481-511
    USAO_00152512-572
    USAO_00152573-605
    USAO_00152606-653
    USAO_00152654-684
    USAO_00152685-721
    USAO_00152722-723
    USAO_00152724-731
    USAO_00152732-739
    USAO_00152740
    USAO_00152741-745
    USAO_00152746-747
    USAO_00152748-749
    USAO_00152750-754
    USAO_00152755-760
    USAO_00152761-767
    USAO_00152768-774
    USAO_00152775-783
    USAO_00152784-790
    USAO_00152791-797
    USAO_00152798-803
    USAO_00155155-6027
    USAO_00159655-663
    USAO_00159664-665
    USAO_00159666-670
    USAO_00159671-684
    USAO_00159685-687
    USAO_00159688-689
    USAO_00159690-694
    USAO_00159695-702
    USAO_00159703-740
    USAO_00159741
    USAO_00159742-743
    USAO_00159744-745
    USAO_00159746-749
    USAO_00159958-965
    USAO_00159966-967
    USAO_00159968-972
    USAO_00159973-986
    USAO_00159987-989
    USAO_00159990-991
    USAO_00159992-994
    USAO_00160033-042
    USAO_00160043-057
    USAO_00160425-438
    USAO_00164924-925


                                     Exhibit 8                       ANALYSIS GROUP, INC
                                       122
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                               DOCUMENTS PROVIDED

    USAO_00164926-927
    USAO_00164928-934
    USAO_00164935-942
    USAO_00164943-948
    USAO_00164949-951
    USAO_00164952-954
    USAO_00164955-958
    USAO_00164959-967
    USAO_00164968-971
    USAO_00164972-973
    USAO_00164974-975
    USAO_00164976-977
    USAO_00164978-983
    USAO_00164984
    USAO_00164985-5003
    USAO_00165004
    USAO_00165005
    USAO_00165006
    USAO_00165007
    USAO_00165008
    USAO_00165009
    USAO_00165010
    USAO_00165011
    USAO_00165012
    USAO_00165013
    USAO_00165014
    USAO_00165015
    USAO_00165016
    USAO_00165017
    USAO_00165300
    USAO_00167454-463
    USAO_00168600-836
    USAO_00168837-896
    USAO_00168897-057
    USAO_00169058-198
    USAO_00169199-294
    USAO_00169295-396
    USAO_00169397-410
    USAO_00169411-471
    USAO_00169472-737
    USAO_00169738-879
    USAO_00169880-985
    USAO_00169986
    USAO_00169987-027
    USAO_00170028-032
    USAO_00170033-038
    USAO_00170039
    USAO_00170040
    USAO_00170041-084
    USAO_00170085-090
    USAO_00170091-239


                                     Exhibit 8                       ANALYSIS GROUP, INC
                                       123
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                               DOCUMENTS PROVIDED

    USAO_00170240-285
    USAO_00170286-469
    USAO_00170470-684
    USAO_00170685-029
    USAO_00171030-289
    USAO_00171290-528
    USAO_00171529-721
    USAO_00171722-821
    USAO_00171822-031
    USAO_00172032-214
    USAO_00172215-247
    USAO_00172248-338
    USAO_00172339-374
    USAO_00173598-602
    USAO_00177288-289
    USAO_00177290
    USAO_00177291-292
    USAO_00177293-294
    USAO_00177295-301
    USAO_00177302
    USAO_00177303
    USAO_00177304
    USAO_00177305-306
    USAO_00177307-322
    USAO_00177323-338
    USAO_00177339-360
    USAO_00177361
    USAO_00177362
    USAO_00177363-364
    USAO_00177365-366
    USAO_00177367-368
    USAO_00177369-371
    USAO_00177372-376
    USAO_00177377-378
    USAO_00177379
    USAO_00177380
    USAO_00177381-382
    USAO_00177383
    USAO_00177384
    USAO_00177385
    USAO_00177386-387
    USAO_00177388-390
    USAO_00177391
    USAO_00177392
    USAO_00177393
    USAO_0023373-375
    USAO_0024541-631
    USAO_00261214-216
    USAO_00261217-473
    USAO_00265201-205
    USAO_00276064-081


                                     Exhibit 8                       ANALYSIS GROUP, INC
                                       124
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                               DOCUMENTS PROVIDED

    USAO_0029519-583
    USAO_0029835-849
    USAO_00323980
    USAO_00392797-800
    USAO_00436342-344
    USAO_00439036-042
    USAO_00480655-665
    USAO_00525136
    USAO_00525137
    USAO_00525259
    USAO_00525260
    USAO_00525262
    USAO_00525263
    USAO_00664077
    USAO_00664865
    USAO_00664866-873
    USAO_00681947
    USAO_00681948
    USAO_00681949
    USAO_00681950
    USAO_00681951
    USAO_00681952
    USAO_00681953
    USAO_00681954
    USAO_00710392
    USAO_00710393-394




                                     Exhibit 8                       ANALYSIS GROUP, INC
                                       125
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 1
                                   CERTIFICATE OF SERVICE

 2          I, H. Dean Steward, am a citizen of the United States, and am at least 18 years of
 3
      age. My business address is 17 Corporate Plaza, Suite 254 in Newport Beach, California.
 4
 5    I am not a party to the above-entitled action. I have caused, on August 23, 2021, service

 6    of the:
 7
       DEFENDANT’S MOTION FOR AN ORDER DIRECTING THE GOVERNMENT TO
 8     IMMEDIATELY PRODUCE TO THE DEFENSE ALL MATERIALS PROVIDED TO
 9                    GOVERNMENT EXPERT JOHN DRUM

10    on the following party, using the Court’s ECF system:
11
      AUSA BRETT SAGEL AND AUSA ALEXANDER WYMAN
12
13    I declare under penalty of perjury that the foregoing is true and correct.

14    Executed on August 23, 2021
15
16                                            /s/ H. Dean Steward

17                                            H. Dean Steward

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